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                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


GRACE ESTABROOK, ELLEN                             )
HOLMQUIST, and MARGOT                              )
KACZOROWSKI,                                       )
                                                   )
                               Plaintiffs,         )
                                                   ) Case No. 1:25-cv-10281-WGY
                  v.                               )
                                                   )
THE IVY LEAGUE COUNCIL OF                          )
PRESIDENTS, PRESIDENT AND                          )
FELLOWS OF HARVARD COLLEGE,                        )
TRUSTEES OF THE UNIVERSITY OF                      )
PENNSYLVANIA, and NATIONAL                         )
COLLEGIATE ATHLETIC                                )
ASSOCIATION,                                       )
                                                   )
                               Defendants.         )

        DEFENDANTS’ MOTION FOR ENLARGEMENT OF ARGUMENT TIME

       The Ivy League Council of Presidents (“The Ivy League”), the President and Fellows of

Harvard College (“Harvard”), the Trustees of the University of Pennsylvania (“Penn”), and the

National Collegiate Athletic Association (“NCAA” and with The Ivy League, Harvard, and

Penn, the “Defendants”) respectfully move to enlarge the total argument time on Defendants’

motions to dismiss for Defendants from 10 minutes to 20 minutes. As grounds for this motion,

Defendants state as follows:

       1.      On April 21, 2025, each of the four Defendants filed their respective motions to

dismiss. See ECF Nos. 64, 67, and 72 (Penn), ECF Nos. 65 and 68 (Harvard), ECF No. 69 (The

Ivy League), and ECF Nos. 70 and 71 (NCAA). On May 12, 2025, Plaintiffs filed their

opposition to Defendants’ motions to dismiss. ECF No. 83. On May 27 and 28, 2025,

Defendants filed reply briefs in support of their motions to dismiss, see ECF Nos. 91 (Penn), 92




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(NCAA), 93 (Havard), and 96 (The Ivy League), and on June 17, 2025, Plaintiffs filed their sur-

reply in support of their opposition. ECF No. 100.

       2.      Each of the four Defendants moved to dismiss Plaintiffs’ complaint in its entirety.

While there are many overlapping arguments among the Defendants, including that the Plaintiffs

lack standing and fail to state a Title IX claim pursuant to Fed. R. Civ. Proc. 12(b)(6), there are

differences among the Defendants’ positions that warrant an enlargement of the total time for

argument for their side to 20 minutes. For example, as a threshold matter, The Ivy League and

NCAA argue that Title IX does not apply to them because they are athletic conferences that do

not themselves receive federal financial assistance.

       3.      Defendants are mindful of the need to be economical in their arguments and, to

that end, have adopted in their briefing the arguments of other Defendants, where appropriate.

See, e.g., ECF No. 67 (Penn adopting Harvard argument on standing), ECF No. 73 (The Ivy

League adopting arguments by Harvard and Penn concerning Plaintiffs’ failure to state a claim).

Because each Defendant intends to argue, Defendants intend to divide among themselves the

total time allotted to their side and avoid repetition in their arguments. Defendants seek an

enlargement of the total time allotted to them in order to address both those arguments common

across Defendants as well as those arguments that differ among them.

                             LOCAL RULE 7.1 CERTIFICATION

       Pursuant to Local Rule 7.1, counsel for The Ivy League met and conferred with counsel

for Plaintiffs in good faith to resolve or narrow the issues raised in the Motion and Plaintiffs

indicated they take no position on this Motion.



Dated July 18, 2025



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